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            EXHIBIT 1
Plaintiffs’ Proposed Verdict Form
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                                          Verdict Form

       When answering the following questions and filling out this Verdict Form, please follow

the directions provided throughout the form. Your answer to each question must be unanimous.

Some of the questions contain legal terms that are defined and explained in detail in the Jury

Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of

any legal term that appears in the questions below.




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          We, the jury, unanimously agree to the answers to the following questions and return

  them under the instructions of this Court as our verdict in this case:

  A. FINDINGS ON COPYRIGHT INFRINGEMENT CLAIMS

  Question No. 1: Primary, Contributory, or Vicarious Infringement for the Named
                  Plaintiffs

          For each work listed below, has the indicated Plaintiff—Maria Schneider, Uniglobe

  Entertainment, LLC (“Uniglobe”), or AST Publishing Ltd. (“AST”)—proven that it is more

  likely than not that Defendants YouTube LLC and Google LLC (“YouTube”) are liable for

  (a) primary copyright infringement, (b) vicarious copyright infringement , and/or (c) contributory

  copyright infringement in accordance with the instructions given to you?

          For any works for which you found that YouTube is liable for any infringement,

  (d) indicate the number of videos (i.e., the number of URLs) that infringe, whether that

  infringement is primary, vicarious, or contributory.

          With respect to each work, please answer “Yes” (for the Plaintiff) or “No” (for

  YouTube) in each box in columns 1(a), 1(b), and 1(c) in Table 1. For any work for which you

  answer “Yes” for any of column 1(a), 1(b), or 1(c), write the number of videos that you find

  infringed the given work, whether that video infringed primarily, vicariously, or contributorily.

  Where a box indicates “N/A”, that indicates there is no primary infringement claim at issue for

  that work.

                                                Table 1
                                                                                             Question 1(d):
                                        Question 1(a): Question 1(b): Question 1(c):
                                                                                              Number of
   Plaintiff             Work              Primary       Vicarious    Contributory
                                                                                              Infringing
                                        Infringement   Infringement   Infringement
                                                                                                URLs

Maria Schneider Alchemy

Maria Schneider Allegresse                   N/A


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                                                                                   Question 1(d):
                                    Question 1(a): Question 1(b): Question 1(c):
                                                                                    Number of
   Plaintiff             Work          Primary       Vicarious    Contributory
                                                                                    Infringing
                                    Infringement   Infringement   Infringement
                                                                                      URLs

Maria Schneider Anthem

Maria Schneider Baytrail Shuffle

Maria Schneider Bird Count

Maria Schneider Buleria, Solea y
                Rumba

Maria Schneider City Sunrise

Maria Schneider Coot Stew

Maria Schneider Dance You
                Monster to My           N/A
                Soft Song

Maria Schneider El Viento

Maria Schneider Evanescence             N/A

Maria Schneider Green Piece

Maria Schneider Gumba Blue

Maria Schneider Gush

Maria Schneider Hang Gliding            N/A

Maria Schneider Journey Home

Maria Schneider Last Season             N/A

Maria Schneider Lately

Maria Schneider My Lament

Maria Schneider Scenes from
                Childhood -
                Bombshelter Beast




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                                                                                       Question 1(d):
                                        Question 1(a): Question 1(b): Question 1(c):
                                                                                        Number of
   Plaintiff            Work               Primary       Vicarious    Contributory
                                                                                        Infringing
                                        Infringement   Infringement   Infringement
                                                                                          URLs

Maria Schneider   Scenes from
                  Childhood -
                  Coming About

Maria Schneider   Scenes from
                  Childhood - Night
                  Watchman

Maria Schneider   Sea of Tranquility

Maria Schneider   Smooth Talk

Maria Schneider   Sue (or In a Season
                  of Crime)

Maria Schneider   The Grail

Maria Schneider   Three Romances -
                  Danca Ilusoria

Maria Schneider   Three Romances -
                  Pas de Deux

Maria Schneider   Three Romances –
                                            N/A
                  Choro Dancado

Maria Schneider   Tork's Café

Maria Schneider   Wyrgly                    N/A



   Uniglobe       5 Weddings
                                            N/A
                  (English)

   Uniglobe       5 Weddings
                                            N/A
                  (Hindi)



     AST          My Children               N/A




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                                                                                Question 1(d):
                                 Question 1(a): Question 1(b): Question 1(c):
                                                                                 Number of
Plaintiff          Work             Primary       Vicarious    Contributory
                                                                                 Infringing
                                 Infringement   Infringement   Infringement
                                                                                   URLs

 AST         Zuleikha Opens
                                     N/A
             Her Eyes

 AST         Children’s Book         N/A

 AST         History of the
                                     N/A
             Russian State

 AST         Nutty Buddha            N/A

 AST         Pelagia and the
                                     N/A
             Red Rooster

 AST         Life of Wonderful
             People and              N/A
             Animals

 AST         Spy Novel               N/A

 AST         #Selfmama -
             Lifehacks for the
             Working Mother




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Question No. 2: Primary, Contributory, or Vicarious Infringement for the Infringement
                Classes

       For the Registered Works Class and the Foreign Unregistered Works Class, has the class

proven through the evidence presented by representative Plaintiffs Maria Schneider, Uniglobe,

and/or AST that it is more likely than not that YouTube is liable for (a) primary copyright

infringement, (b) contributory copyright infringement, and/or (c) vicarious copyright

infringement in accordance with the instructions given to you?

       With respect to each class, please answer “Yes” (for the Class) or “No” (for YouTube)

in each box in Table 2.

                                              Table 2

                                      Question 2(a): Question 2(b): Question 2(c):
                    Class                Primary     Contributory     Vicarious
                                      Infringement   Infringement   Infringement

           Registered Works Class

            Foreign Unregistered
                Works Class


If you answered “Yes” for any of the boxes in Table 1 or Table 2, then continue to

Question No. 3. If you answered “No” for all of the boxes in Table 1 and Table 2, then skip

Questions 3 - 6 and continue to Question 7.




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B. FINDINGS ON DEFENDANTS’ AFFIRMATIVE DEFENSES TO INFRINGEMENT
   CLAIMS

Question No. 3: YouTube's Affirmative Defenses of License, Statute of Limitations, or
                Fair Use

        For each work listed below, has YouTube proven that it is more likely than not that it is

not liable for infringement as a result of its affirmative defenses of (a) license, (b) statute of

limitations, or (c) fair use in accordance with the instructions given to you? For any work for

which you have found that YouTube has established an affirmative defense (i.e., you answered

“Yes” in any box in columns 3(a), 3(b), or 3(c) of Table 3), then (d) you must determine the

number of videos (i.e., the number of URLs) that are not subject to any defense and enter that

number in the box in Column 3(d) in Table 3.

        With respect to each work, please answer “Yes” (for Defendants) or “No” (for the

Plaintiff) in each box in columns 3(a), 3(b), and 3(c) in Table 3. For any work for which you

answered “Yes” in any of columns 3(a), 3(b), and 3(c) in Table 3, then for each work, enter in

column 3(d) the difference between (i) the number of infringing URLs you found for such work in

column 1(d) in Table 1 above and (ii) the number of URLs for which YouTube has proven that

the video is subject to an affirmative defense. For any work that you found was not subject to

any affirmative defense (i.e., you entered “No” in each of columns 3(a), 3(b), and 3(c) of Table 3

for such work), enter in column 3(d) the number of videos you found infringed that work as

entered in column 1(d) of Table 1 for that work.




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                                            Table 3

                                                                                    Question 3(d):
                                                    Question 3(b):
                                   Question 3(a):                  Question 3(c):    Number of
                                                      Statute of
   Plaintiff           Work          License                         Fair Use        URLs Not
                                                     Limitations
                                     Defense                         Defense         Subject to
                                                       Defense
                                                                                    Any Defense

Maria Schneider Alchemy

Maria Schneider Allegresse

Maria Schneider Anthem

Maria Schneider Baytrail Shuffle

Maria Schneider Bird Count

Maria Schneider Buleria, Solea y
                Rumba

Maria Schneider City Sunrise

Maria Schneider Coot Stew

Maria Schneider Dance You
                Monster to My
                Soft Song

Maria Schneider El Viento

Maria Schneider Evanescence

Maria Schneider Green Piece

Maria Schneider Gumba Blue

Maria Schneider Gush

Maria Schneider Hang Gliding

Maria Schneider Journey Home

Maria Schneider Last Season

Maria Schneider Lately




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                                                                                  Question 3(d):
                                                  Question 3(b):
                                 Question 3(a):                  Question 3(c):    Number of
                                                    Statute of
   Plaintiff          Work         License                         Fair Use        URLs Not
                                                   Limitations
                                   Defense                         Defense         Subject to
                                                     Defense
                                                                                  Any Defense

Maria Schneider My Lament

Maria Schneider Scenes from
                Childhood -
                Bombshelter
                Beast

Maria Schneider Scenes from
                Childhood -
                Coming About

Maria Schneider Scenes from
                Childhood -
                Night
                Watchman

Maria Schneider Sea of
                Tranquility

Maria Schneider Smooth Talk

Maria Schneider Sue (or In a
                Season of
                Crime)

Maria Schneider The Grail

Maria Schneider Three
                Romances -
                Danca Ilusoria

Maria Schneider Three
                Romances - Pas
                de Deux

Maria Schneider Three
                Romances –
                Choro Dancado

Maria Schneider Tork's Café



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                                                                                   Question 3(d):
                                                   Question 3(b):
                                  Question 3(a):                  Question 3(c):    Number of
                                                     Statute of
   Plaintiff         Work           License                         Fair Use        URLs Not
                                                    Limitations
                                    Defense                         Defense         Subject to
                                                      Defense
                                                                                   Any Defense

Maria Schneider Wyrgly



   Uniglobe     5 Weddings
                (English)

   Uniglobe     5 Weddings
                (Hindi)



    AST         My Children

    AST         Zuleikha Opens
                Her Eyes

    AST         Children’s
                Book

    AST         History of the
                Russian State

    AST         Nutty Buddha

    AST         Pelagia and the
                Red Rooster

    AST         Life of
                Wonderful
                People and
                Animals

    AST         Spy Novel

    AST         #Selfmama -
                Lifehacks for
                the Working
                Mother




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If you answered “No” for any of the boxes in Table 3 or you have a positive number in any box

in column 3(d) of Table 3, then continue to Question No. 4. If you answered “Yes” for all of the

boxes in Table 3 and all of your entries in column 3(d) are zero, then skip Questions 4 - 6 and

continue to Question 7.




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Question No. 4: YouTube's Affirmative Defenses Limiting Liability Under the DMCA
                Safe Harbors

        If you have found that Defendants are liable to Plaintiffs for any infringement claims

(i.e., you said “Yes” in any box in Table 1 or Table 2) and if you have found that Defendants are

not entitled to an affirmative defense of license, statute of limitations, or fair use for all such

infringement claims (i.e., you said “No” in any box in Table 3), then please answer the following

questions in accordance with the instructions given to you as to whether Defendants avoid being

held liable for such copyright infringement claims because they satisfy the DMCA safe harbors.

    a. Has YouTube failed to adopt or reasonably implement a policy that provides for the
       termination of repeat infringers in appropriate circumstances?

                ______ YES (for Plaintiffs) ________ NO (for Defendants)

    b. Has YouTube failed to accommodate or interfered with Standard Technical Measures?

                ______ YES (for Plaintiffs) ________ NO (for Defendants)

    c. Does YouTube have the right and ability to control the infringing activity at issue and
       receive a financial benefit directly attributable to the infringing activity?

                ______ YES (for Plaintiffs) ________ NO (for Defendants)

    d. Did YouTube have actual or red flag knowledge of Plaintiffs’ infringements?

                ______ YES (for Plaintiffs) ________ NO (for Defendants)

    e. Did YouTube, upon obtaining actual knowledge of infringement or awareness of
       apparent infringement, expeditiously remove, or disable access to, the infringing
       material?

                ______ YES (for Plaintiffs) ________ NO (for Defendants)



If you answered “Yes” for any of the questions 4.a through 4.e, then continue to Question No. 5.

If you answered “No” for all of the questions 4.a through 4.e, then skip Questions 5 - 6 and

continue to Question 7.




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C.      DAMAGES – INFRINGEMENT CLAIMS

Question No. 5: Statutory Damages

         Ms. Schneider, Uniglobe, and the Registered Works Infringement Class may seek a

statutory damages award within a range established by Congress for each work infringed. The

purpose of statutory damages is not only to compensate the Plaintiffs for their losses, which may

be hard to prove, but also to penalize Defendants and deter future violations of the copyright

laws.

         The amount you may award as statutory damages is not less than $750, nor more than

$30,000 for each work that you determine was infringed. However, if you find the infringement

was willful in accordance with the instructions given to you, you may award as much as

$150,000 for each work willfully infringed. And, if you find the infringement was innocent in

accordance with the instructions given to you, you may award as little as $200 for each work

innocently infringed.

         Indicate the amount you award as statutory damages per infringed work below.



         Amount of statutory damages per infringed work: $ _________________



         Continue to and separately answer Question 6.




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Question No. 6: Defendants’ Profits

       Ms. Schneider, Uniglobe, AST, the Registered Works Infringement Class, and the

Foreign Unregistered Works Infringement Class may seek an award equal to the amount of any

profits of Defendants attributable to infringements of their works. You must determine the

amount of any profits of Defendants attributable to any infringements of Plaintiffs’ works

separate from any statutory damages determination.

       Indicate the amounts you determine for each question 6.a through 6.g below.

       a.    Total number of videos infringing Maria Schneider’s
             works (the sum of your numbers in column 3(d) of
             Table 3 for all of Ms. Schneider’s works):                    ______________

       b.    Total number of videos infringing Uniglobe’s works (the
             sum of your numbers in column 3(d) of Table 3 for both of
             Uniglobe’s works):                                        ______________

       c.    Total number of videos infringing AST’s works (the sum
             of your numbers in column 3(d) of Table 3 for all of
             AST’s works                                                   ______________

       d.    Defendants’ profits per infringing video:                     $_____________

       e.    Defendants’ profits attributable to infringements of
             Maria Schneider’s works (line 1 x line 4):                    $_____________

       f.    Defendants’ profits attributable to infringements of
             Uniglobe’s works (line 2 x line 4):                           $_____________

       g.    Defendants’ profits attributable to infringements of
             AST’s works (line 3 x line 4):                                $_____________




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D.   FINDINGS ON CMI CLAIMS

Question No. 7: Maria Schneider’s ISRC Claims under 17 U.S.C. § 1202(b)

       (a) For each work listed below, has Maria Schneider proven that it is more likely than

not that (1) YouTube distributed, imported for distribution, or publicly performed sound

recordings of musical works or copies of such works owned by Ms. Schneider, (2) knowing or

having reason to know that ISRC codes had been removed from those sound recordings, and

(3) knowing or having reason to know that it will induce, enable, facilitate, or conceal copyright

infringement in accordance with the instructions given to you?

       With respect to each work in Table 4, please answer “Yes” (for Ms. Schneider) or

“No” (for YouTube) in each box in the column for Question 7(a).

       (b) If you found that YouTube did violate 17 U.S.C. § 1202(b) for any work in Table 4,

(i.e., you entered “Yes” for any work in the Question 7(a) column in Table 4), then indicate in

the appropriate box for such work in the Question 7(b) column in Table 4 the number of times

that YouTube committed a violation with respect to that work.

                                             Table 4

                                            Question 7(a)          Question 7(b):
                   ISRC Work                Violation of             Number of
                                        17 U.S.C. § 1202(b)          Violations

             A Potter's Song

             Alchemy

             Dance You Monster to
             My Soft Song

             Hang Gliding

             Scenes from Childhood
             - Coming About




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                                Question 7(a)      Question 7(b):
          ISRC Work              Violation of       Number of
                             17 U.S.C. § 1202(b)    Violations

    Sue (or In a Season of
    Crime)

    The Grail

    The Thompson Fields

    Three Romances -
    Choro Dancado

    Walking by Flashlight
    (Big Band)




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Question No. 8: ISRC Class Claims under 17 U.S.C. § 1202(b)

       Has the ISRC Class proven through the evidence presented by Maria Schneider that it is

more likely than not that (1) YouTube distributed, imported for distribution, or publicly

performed sound recordings of musical works or copies of such works owned by members of the

ISRC Class, (2) knowing or having reason to know that ISRC codes had been removed from

those sound recordings, and (3) knowing or having reason to know that it will induce, enable,

facilitate, or conceal copyright infringement in accordance with the instructions given to you?

           ________YES (for the ISRC Class)          ________NO (for YouTube)

       If you answered “Yes” for any of the boxes in the Question 7(a) column in Table 4 or

answered “Yes” to Question No. 8, then continue to Question No. 9. If you answered “No” for

all of the boxes in the Question 7(a) column in Table 4 and answered “No” to Question 8, then

skip Question 9 and continue to Question 10.




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Question No. 9: Damages for violations with respect to ISRC Codes

       If you find for Maria Schneider or for the ISRC Class on any of their ISRC claims, then

you must determine their damages. Plaintiffs seek a statutory damage award, established by

Congress, for each violation. The purpose of the statutory damages is not only to compensate the

Plaintiffs for their losses, which may be hard to prove, but also to penalize Defendants and deter

future violations of the copyright laws.

       The amount of statutory damages per violation that you may award is not less than

$2,500 or more than $25,000 for each violation. If you find that YouTube innocently violated

17 U.S.C. § 1202(b) with respect to ISRC codes in accordance with the instructions provided to

you, then you may, but are not required to, reduce the statutory damages award below the $2,500

minimum per violation.

       Indicate the amount you award as statutory damages per infringed work below.


Amount of statutory damages per violation with respect to ISRC Codes: $ ______________




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Question No. 10: Maria Schneider’s CLFN Claims under 17 U.S.C. § 1202(b)

       (a) For each work listed below, has Maria Schneider proven that it is more likely than

not that YouTube intentionally removed or altered copyright management information in the

CLFN metadata field associated with the work, knowing that such removal or alteration will

induce, enable, facilitate, or conceal copyright infringement in accordance with the instructions

given to you?

       With respect to each work in Table 5, please answer “Yes” (for Ms. Schneider) or “No”

(for YouTube) in each box in the column for Question 10(a).



       (b) If you found that YouTube did violate 17 U.S.C. § 1202(b) for any work in Table 5

(i.e., you entered “Yes” for any work in the Question 10(a) column in Table 5), then indicate in

the appropriate box for such work in the Question 10(b) column in Table 5 the number of times

that YouTube committed a violation with respect to that work.

                                             Table 5

                                           Question 10(a)         Question 10(b):
                   CLFN Work                Violation of             Number of
                                        17 U.S.C. § 1202(b)          Violations

             A Potter’s Song


             Allegresse

             Cerulean Skies

             My Lament

             Scenes from Childhood
             – Bombshelter Beast

             Sky Blue




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                           Question 10(a)      Question 10(b):
        CLFN Work            Violation of        Number of
                         17 U.S.C. § 1202(b)     Violations

    Three Romances –
    Choro Dancado

    Wyrgly




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Question No. 11: CLFN Class Claims under 17 U.S.C. § 1202(b)

       Has the CLFN Class proven through the evidence presented by Maria Schneider that it is

more likely than not that YouTube intentionally removed or altered copyright management

information in the CLFN metadata field associated with the class’s works, knowing that such

removal or alteration will induce, enable, facilitate, or conceal copyright infringement in

accordance with the instructions given to you?

           ________YES (for the ISRC Class)           ________NO (for YouTube)

       If you answered “Yes” for any of the boxes in the Question 10(a) column in Table 5 or

answered “Yes” to Question No. 11, then continue to Question No. 12. If you answered “No”

for all of the boxes in the Question 10(a) column in Table 5 and answered “No” to Question 12,

then skip Question 12 and continue to Question 13.




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Question No. 12: Damages for Violations with Respect to Copyright Management
                 Information in CLFN fields

       If you find for Maria Schneider or for the CLFN Class on any of their CLFN claims, then

you must determine their damages. Plaintiffs seek a statutory damages award, established by

Congress, for each violation. The purpose of the statutory damages is not only to compensate the

Plaintiffs for their losses, which may be hard to prove, but also to penalize Defendants and deter

future violations of the copyright laws.

       The amount of statutory damages per violation that you may award is not less than

$2,500 or more than $25,000 for each violation. If you find that YouTube innocently violated

17 U.S.C. § 1202(b) with respect to copyright management information in CLFN fields in

accordance with the instructions provided to you, then you may, but are not required to, reduce

the statutory damages award below the $2,500 minimum per violation.

       Indicate the amount you award as statutory damages per infringed work below.



Amount of statutory damages per violation with respect to CLFN metadata: $ ______________




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E.   FINDINGS ON COUNTERCLAIMS

Question No. 13: Counterclaim Liability

       Has YouTube proven that it is more likely than not that Pirate Monitor Ltd. and Gabor

Csupó violated 17 U.S.C. § 512(f) in accordance with the instructions given to you?

       With respect to each counterclaim defendant, please answer “Yes” (for YouTube) or

“No” (for the Counterclaim Defendant).

       (a)    Is Pirate Monitor Ltd. liable for violating 17 U.S.C. § 512(f)? _____________

       (b)    Is Mr. Csupó liable for violating 17 U.S.C. § 512(f)?          _____________

       If you answered “Yes” to either of the subparts above, proceed to Question 14. If you

answered “No” to both of the subparts above, proceed to the end.




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Question No. 14: Counterclaim Affirmative Defenses—Inequitable, Equal Responsibility,
                 Failure to Mitigate

        Have Pirate Monitor Ltd. and Mr. Csupó proven that it is more likely than not that they

are not liable for violation of 17 U.S.C. § 512(f) as a result of their affirmative defenses that

(a) YouTube's conduct was inequitable and harmed Pirate Monitor Ltd. and/or Mr. Csupó or

(b) YouTube was equally responsible for the allegedly harmful conduct, in accordance with the

instructions given to you?

        With respect to each Counterclaim Defendant, please answer “Yes” (for Counterclaim

Defendants) or “No” (for YouTube) in each box in Table 6.

                                               Table 6


                       Counterclaim        Question 14(a)       Question 14(b)
                        Defendant           Inequitable            Equal
                                                                Responsibility

                     Pirate Monitor
                     Ltd.

                     Gabor Csupó



If you answered “No” in response to either Question 14(a) or Question 14(b) for either Pirate

Monitor Ltd. or for Mr. Csupó, proceed for such Counterclaim Defendant to Question 15. If you

answered “Yes” in response to either Question 14(a) or Question 14(b) for both Counterclaim

Defendants, then proceed to the end.




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Question No. 15:      Counterclaim Damages

       If you found for YouTube on its claim against either Pirate Monitor Ltd. or Mr. Csupó on

its 17 U.S.C. § 512(f) claim, and if you found that either Pirate Monitor Ltd. or Mr. Csupó is not

entitled to an affirmative defense, then you must determine the amount of YouTube’s damages

for its counterclaim. YouTube must prove damages by a preponderance of the evidence and in

accordance with the instructions given to you.



       Amount of damages: $________________




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You have now reached the end of the verdict form and should review it to ensure it accurately
reflects your unanimous determinations. The Presiding Juror should then sign and date the
verdict form in the spaces below and notify the Security Guard that you have reached a verdict.
The Presiding Juror should retain possession of the verdict form and bring it when the jury is
brought back into the courtroom.




DATED: __________, 2023                            BY:___________________________
                                                          PRESIDING JUROR




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